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                             UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                            CASE NO. 19-20624-CR-SINGHAL

  UNITED STATES OF AMERICA,

           Plaintiff,
  v.

  JUANA MIRTA QUINTERO,

        Defendant.
  ______________________________________/


                            DEFENDANT’S OBJECTIONS TO THE
                        PRESENTENCE INVESTIGATION REPORT

           Ms. Juana Quintero, by and through undersigned counsel, respectfully files the

  following objections to the Presentence Investigation Report (“PSI”), ECF No. 44.


                 OFFENSE CONDUCT & ROLE ASSESSMENT, ¶¶ 7-21

           Ms. Quintero objects to certain factual assertions in paragraphs 7-21.

  Specifically, Ms. Quintero objects to the following:


       •   “Y. Gonzalez and Quintero then returned the remaining fraud proceeds in

           cash to M. Gonzalez, Alfaro and Marquez at Golden, Homestead, and MA for

           their own use and to further the fraud,” PSI ¶ 9 (emphasis in original);

       •   “Information provided by the government reflected Y. Gonzalez and Quintero

           recruited at least 12 unindicted co-conspirators to participate in the fraudulent

           scheme,” PSI ¶ 11 (emphasis in original);

       •   All factual recitations in paragraphs 13-21.


  None of these facts have been established by a preponderance of the evidence. United

  States v. Martinez, 584 F.3d 1022, 1027 (11th Cir. 2009); see also United States v.
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  Hamidullah, 768 Fed. App’x 914, 918 (11th Cir. 2019) (explaining that after an

  objection, the burden shifts to the Government to prove the disputed facts by a

  preponderance of the evidence).            Further, Ms. Quintero respectfully disputes the

  veracity of all statements allegedly made by cooperating and unindicted

  coconspirators and requests they be stricken from the PSI. 1 See, e.g., United States

  v. Lawrence, 47 F.3d 1559, 1566 (11th Cir. 1995) (“It is the district court’s duty to

  ensure the Government carries this burden by presenting reliable and specific

  evidence.”).


                     ADJUSTMENT FOR ROLE IN OFFENSE, ¶ 30

         Applying Section 3B1.1(b), the PSI applies a three-level increase to Ms.

  Quintero’s offense level for being a supervisor or manager. PSI ¶ 30. The PSI asserts

  that this enhancement applies because Ms. Quintero was a supervisor or manager

  and the offense involved five or more participants or was otherwise extensive. PSI ¶

  30.


         According to the Sentencing Guidelines, to distinguish between a leadership

  and organization role from one of “mere management or supervision,” the court

  should consider the following factors: the exercise of decision making authority; the

  degree of participation in planning or organizing the offense; the claimed right to a

  larger share of the fruits of the crime; the degree of control and authority exercised

  over others; the recruitment of accomplices; the nature and scope of the illegal



  1Moreover, Ms. Quintero respectfully objects to factual and legal assertions in paragraphs 19-21 about
  other alleged coconspirators’ cases as she lacks personal knowledge about their cases.
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  activity; and the nature of participation in the commission of the offense. United

  States Sentencing Commission, Guidelines Manual, § 3B1.1(b) comment (n.4) (Nov.

  2018). A review of these factors demonstrates this enhancement should not apply.


        Ms.    Quintero     did   not   exercise    decision-making,      planning     or

  organizing authority. The government cannot show Ms. Quintero exercised

  decision-making, planning or organizing authority. U.S.S.C. § 3B1.1(b) comment

  (n.4). The undisputed facts show Ms. Quintero cashed check and recruited others to

  do the same. See, e.g., ECF No. 35 (factual proffer). Even taking as true the factual

  assertions in the PSI, which Ms. Quintero disputes, supra Objections to Offense

  Conduct & Role Adjustment, the government cannot show Ms. Quintero exercised

  decision-making, planning or organizing authority. U.S.S.C. § 3B1.1(b) comment

  (n.4); see, e.g. PSI ¶¶13-14 (describing Ms. Quintero’s role as cashing checks and

  recruiting others to do the same). Thus, these two factors do not support application

  of the three-level enhancement for manager or supervisor.


        Ms. Quintero did not receive a larger portion of the profits. This factor

  does not support application of this enhancement either. Ms. Quintero received the

  same payment as others for cashing checks and recruiting others.             PSI ¶ 13

  (describing fee for cashing checks); PSI ¶ 17 (describing fee for recruiting patients).


        Ms. Quintero did not exercise control or authority over others. Here

  too, there are no facts—let alone established by a preponderance of the evidence—




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  that show Ms. Quintero exercised control or authority over others. This factor does

  not support application of this enhancement either.


         Ms. Quintero’s involvement in this $22 million dollar fraud scheme

  was cashing checks and recruiting others to do the same. The remaining

  factors are the nature and scope of the criminal activity, “the nature of participation

  in the commission of the offense,” and “the recruitment of accomplices.” U.S.S.C §

  3B1.1(b) comment (n.4).      According to the government, this was a large-scale

  healthcare fraud scheme, amounting to losses of nearly $23 million.         PSI ¶ 19.

  Indeed, it was. In this expansive scheme, however, Ms. Quintero’s involvement was

  limited to recruiting others to cash checks. See, e.g., PSI ¶¶13-14; ECF No. 35

  (describing Ms. Quintero’s recruitment). That’s it.


         Unlike other participants, Ms. Quintero did not:


     •   establish shell companies in an attempt to hide her criminal conduct, ECF No.

         39 (Yudel Gonzalez Factual Proffer) (explaining Mr. Gonzalez solely

         established the shell companies),

     •   establish multiple fraudulent staffing companies to conceal criminal conduct

         to launder hundreds of thousands of dollars of ill-gotten gains, United States

         v. Luis Lazardo, Case No. 16-cr-20461-JEM, Dkt. No. 163 (S.D. Fla. Oct. 25,

         2016) (stipulated factual proffer);




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     •   open bank accounts through which to launder hundreds of thousands of

         dollars, United States v. Luis Lazardo, Case No. 16-cr-20461-JEM, Dkt. No.

         163 (S.D. Fla. Oct. 25, 2016) (stipulated factual proffer);

     •   recruit “approximately 100” patients to participate in this scheme, United

         States v. Adriana Jalil, Case No. 16-cr-20461-JEM, Dkt. No. 153 (S.D. Fla. Oct.

         13, 2016) (stipulated factual proffer); or

     •   act as a manager of one of the fraudulent home healthcare businesses, charged

         with tracking the numbers of patients recruited and paying bribes and

         kickbacks, United States v. Linda Marquez, Case No. 16-cr-20445-JEM, Dkt.

         No. 18 (S.D. Fla. Sept. 1, 2016) (stipulated factual proffer).


         For these reasons, the only factor supporting application of this enhancement

  is recruitment of accomplices.     This is insufficient to withstand Ms. Quintero’s

  objection.


                             GUIDELINE CALCULATION

         If the Court grants the objections herein, Ms. Quintero’s adjusted offense level

  would be 23 instead of 26, PSI ¶¶ 30, 36.




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        WHEREFORE, for the reasons stated herein and for any other reasons that

  may arise during the sentencing hearing in this cause, Ms. Quintero respectfully

  requests that this Court grant her PSI objections.




                                         Respectfully submitted,

                                         MICHAEL CARUSO
                                         FEDERAL PUBLIC DEFENDER


                                  By: /s/ Kirsten R. Nelson

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                            CERTIFICATE OF SERVICE

         I HEREBY certify that on March 27, 2020, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of record via transmission of Notices
  of Electronic Filing generated by CM/ECF or in some other authorized manner for
  those counsel or parties who are not authorized to receive electronically Notices of
  Electronic Filing.

                                   s/ Kirsten R. Nelson
                                      Kirsten R. Nelson




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